                          Case 20-50785-btb                Doc 1       Entered 08/13/20 13:05:40                    Page 1 of 12


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                CAYO INC.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4747 CAUGHLIN PARKWAY # 3
                                  RENO, NV 89519
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  WASHOE                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                           Case 20-50785-btb                   Doc 1       Entered 08/13/20 13:05:40                       Page 2 of 12
Debtor    CAYO INC.                                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                     Case 20-50785-btb       Doc 1       Entered 08/13/20 13:05:40                  Page 3 of 12
Debtor   CAYO INC.                                                              Case number (if known)
         Name




Official Form 201              Voluntary Petition for Non-Individuals Filing for Bankruptcy                        page 3
                            Case 20-50785-btb               Doc 1        Entered 08/13/20 13:05:40                     Page 4 of 12
Debtor   CAYO INC.                                                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
                         Case 20-50785-btb                 Doc 1        Entered 08/13/20 13:05:40                      Page 5 of 12
Debtor    CAYO INC.                                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 13, 2020
                                                  MM / DD / YYYY


                             X   /s/ HARRY GRUNDMANN                                                      HARRY GRUNDMANN
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   PRESIDENT




18. Signature of attorney    X   /s/ KEVIN A DARBY                                                         Date August 13, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 KEVIN A DARBY 7670
                                 Printed name

                                 DARBY LAW PRACTICE
                                 Firm name

                                 4777 CAUGHLIN PARKWAY
                                 RENO, NV 89519
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     775.322.1237                  Email address      kevin@darbylawpractice.com

                                 7670 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                          Case 20-50785-btb              Doc 1       Entered 08/13/20 13:05:40                  Page 6 of 12
Debtor     CAYO INC.                                                                        Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                   Chapter     11
                                                                                                                        Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



                                                                                                                     SHAREHOLDER OF
Debtor     EETREE, INC.                                                            Relationship to you               CAYO INC.
District   NEVADA                                     When     8/13/20             Case number, if known
Debtor     HARRY J. GRUNDMANN                                                      Relationship to you               AFFILIATE
District   NEVADA                                     When     8/10/20             Case number, if known             20-50777-BTB




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 6
                                Case 20-50785-btb                    Doc 1        Entered 08/13/20 13:05:40                          Page 7 of 12


 Fill in this information to identify the case:
 Debtor name CAYO INC.
 United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                                           Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 BERG FAMILY                                                     LOAN/PROMISSO                                                                                            $45,765.00
 TRUST                                                           RY NOTE
 1976 NORTH
 DUNCAN ROAD
 LINDEN, CA 95236
 CATHERINE                                                       LOAN/PROMISSO                                                                                          $470,000.00
 TURNBULL                                                        RY NOTE
 C/O MICHAEL A.
 BURKE, ESQ.
 71 WASHINGTON
 STREET
 Reno, NV 89503
 E-PATH DIGITAL                                                                                                                                                           $60,000.00
 32392 COAST HWY
 SUITE 200
 Laguna Beach, CA
 92651
 EETREE INC                                                      LOAN/PROMISSO                                                                                          $290,000.00
 NEVADA                                                          RY NOTE
 CORPORATION
 4747 CAUGHLIN
 PARKWAY #4
 RENO, NV 89519
 ERIC OHDE                                                       LOAN/PROMISSO                                                                                            $44,217.00
 16111 SWIFT FOX                                                 RY NOTE
 DRIVE
 REDDING, CA 96001
 EVANTAGE INC.                                                                                                                                                                    $0.00
 6988 SWEET
 WATER STREET
 CARLSBAD, CA
 92011
 FORWARD                                                                                                                                                                          $0.00
 FINANCING
 53 STATE STREET
 FL 20
 Boston, MA 02109


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                                Case 20-50785-btb                    Doc 1        Entered 08/13/20 13:05:40                          Page 8 of 12



 Debtor    CAYO INC.                                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 FRANCOIS                                                                                                                                                                   $7,000.00
 NAZALOT

 INTERNAL                                                                                                                                                                         $0.00
 REVENUE SERVICE
 PO BOX 7346
 Philadelphia, PA
 19101-7317
 KA FINANCIAL                                                    LOAN/PROMISSO                                                                                            $35,750.00
 ATTN: DAN                                                       RY NOTE
 EVERTSZ
 39 PELLERIA DRIVE
 AMERICAN
 CANYON, CA 94503
 LORI WAGNER                                                     LOAN/PROMISSO                                                                                            $70,810.00
                                                                 RY NOTE
 MERCHANT                                                                                                                                                                         $0.00
 SERVICES
 990 BISCAYNE
 BLVD SUITE 301
 Miami, FL 33132
 MYRNA LONG                                                      LOAN/PROMISSO                                                                                            $75,817.00
 21204 SHAWS FLAT                                                RY NOTE
 ROAD
 SONORA, CA 95370
 NANCY SCHRADER                                                  LOAN/PROMISSO                                                                                          $361,135.00
 1192 VIENNA DRIVE                                               RY NOTE
 LODI, CA 95242
 SPECTRUM                                                                                                                                                                     $200.00
 INTERNET
 400 ATLANTIC
 STREET
 Stamford, CT 06901
 SPENCER                                                         LOAN/PROMISSO                                                                                            $47,000.00
 GRUNDMANN                                                       RY NOTE
 4747 CAUGHLIN
 PARKWAY #2
 RENO, NV 89519
 STACIE TANAKA                                                   LOAN/PROMISSO                                                                                            $28,800.00
 6117 WILD EAGLE                                                 RY NOTE
 COURT
 ELK GROVE, CA
 95757
 TIM TREFTS                                                      LOAN/PROMISSO                                                                                            $41,500.00
 4747 CAUGHLIN                                                   RY NOTE
 PARKWAY #2
 RENO, NV 89519
 TIM TREFTS                                                      LOAN/PROMISSO                                                                                            $41,500.00
 4747 CAUGHLIN                                                   RY NOTE
 PARKWAY #2
 RENO, NV 89519



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                                Case 20-50785-btb                    Doc 1        Entered 08/13/20 13:05:40                          Page 9 of 12



 Debtor    CAYO INC.                                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 TOM ELLIOTT                                                                                                                                                              $17,000.00




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
    Case 20-50785-btb   Doc 1   Entered 08/13/20 13:05:40   Page 10 of 12



}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                  CAYO INC.
                  4747 CAUGHLIN PARKWAY # 3
                  RENO, NV 89519

                  KEVIN A DARBY
                  DARBY LAW PRACTICE
                  4777 CAUGHLIN PARKWAY
                  RENO, NV 89519

                  BERG FAMILY TRUST
                  1976 NORTH DUNCAN ROAD
                  LINDEN, CA 95236

                  CATHERINE TURNBULL
                  C/O MICHAEL A. BURKE, ESQ.
                  71 WASHINGTON STREET
                  Reno, NV 89503

                  E-PATH DIGITAL
                  32392 COAST HWY SUITE 200
                  Laguna Beach, CA 92651

                  EETREE INC NEVADA CORPORATION
                  4747 CAUGHLIN PARKWAY #4
                  RENO, NV 89519

                  ERIC OHDE
                  16111 SWIFT FOX DRIVE
                  REDDING, CA 96001

                  EVANTAGE INC.
                  6988 SWEET WATER STREET
                  CARLSBAD, CA 92011

                  FORWARD FINANCING
                  53 STATE STREET FL 20
                  Boston, MA 02109

                  FRANCOIS NAZALOT


                  INTERNAL REVENUE SERVICE
                  PO BOX 7346
                  Philadelphia, PA 19101-7317

                  KA FINANCIAL
                  ATTN: DAN EVERTSZ
                  39 PELLERIA DRIVE
                  AMERICAN CANYON, CA 94503

                  LORI WAGNER
Case 20-50785-btb   Doc 1   Entered 08/13/20 13:05:40   Page 11 of 12




              MERCHANT SERVICES
              Acct No xxxxxxxxxxx2914
              990 BISCAYNE BLVD SUITE 301
              Miami, FL 33132

              MYRNA LONG
              21204 SHAWS FLAT ROAD
              SONORA, CA 95370

              NANCY SCHRADER
              1192 VIENNA DRIVE
              LODI, CA 95242

              RENO COMMERCE TAX
              Acct No xxxxxxxxxxxxxxx5973
              P.O. BOX 51180
              Los Angeles, CA 90051

              SAMMY LOUKA
              2326 KEATS LANE
              SAN RAMON, CA 94582

              SPECTRUM INTERNET
              400 ATLANTIC STREET
              Stamford, CT 06901

              SPENCER GRUNDMANN
              4747 CAUGHLIN PARKWAY #2
              RENO, NV 89519

              STACIE TANAKA
              6117 WILD EAGLE COURT
              ELK GROVE, CA 95757

              TIM TREFTS
              4747 CAUGHLIN PARKWAY #2
              RENO, NV 89519

              TOM ELLIOTT
                         Case 20-50785-btb                           Doc 1    Entered 08/13/20 13:05:40        Page 12 of 12




                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      CAYO INC.                                                                                       Case No.
                                                                                    Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for CAYO INC. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 August 13, 2020                                                        /s/ KEVIN A DARBY
 Date                                                                   KEVIN A DARBY 7670
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for CAYO INC.
                                                                        DARBY LAW PRACTICE
                                                                        4777 CAUGHLIN PARKWAY
                                                                        RENO, NV 89519
                                                                        775.322.1237 Fax:775.996.7290
                                                                        kevin@darbylawpractice.com




Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
